Case 3:19-cv-03061-MEF Document 21                  Filed 09/17/20 Page 1 of 1 PageID #: 801




                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                  HARRISON DIVISION

TRACEY R. GRINDER                                                                      PLAINTIFF

       v.                      Civil No. 3:19-CV-03061-MEF

ANDREW M. SAUL, 1
Social Security Administration                                                         DEFENDANT

                                       FINAL JUDGMENT

       This cause is before the Court on the Plaintiff’s complaint for judicial review of an

unfavorable final decision of the Commissioner of the Social Security Administration regarding

her application for Disability Insurance Benefits. The parties have consented to entry of final

judgment by the United States Magistrate Judge under the provisions of 28 U.S.C. § 636(c), with

any appeal to the Court of Appeals for the Eighth Circuit. The Court, having reviewed the record,

the administrative transcript, the briefs of the parties, the applicable law, and oral argument having

been waived, finds as follows, to-wit:

       For the reasons announced by the Court on the record on September 17, 2020, the Court

finds that the decision of the Commissioner of Social Security is supported by substantial evidence,

and the same is hereby affirmed.

       IT IS SO ORDERED this the 17th day of September 2020.

                                                       /s/ Mark E. Ford
                                                       HON. MARK E. FORD
                                                       UNITED STATES MAGISTRATE JUDGE




1
 Andrew M. Saul was confirmed by the Senate on June 4, 2019, replacing Nancy A. Berryhill as the Acting
Commissioner of the Social Security Administration.
